  Case 3:17-cv-00198-LAB-WVG Document 78 Filed 08/27/18 PageID.2201 Page 1 of 1


                                  United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA

                            NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Larry Alan Burns

 FROM: L. Cervantes, Deputy Clerk                    RECEIVED DATE: August 20, 2018
 CASE NO. 17-cv-00198-LAB-WVG                        DOC FILED BY: Tiffany Dehen
 CASE TITLE: Dehen v. Doe et al
 DOCUMENT ENTITLED: Plaintiff's Notice of Motion and Motion for Leave to File Plaintiff's Third
 Amended Complaint

        Upon the submission of the attached document(s), the following discrepancies are noted:


 Civ. L. R. 7.1 – No hearing date obtained from chambers.

 An order regarding briefing on this motion will follow.



                                                            Date Forwarded: August 23, 2018

                   ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:

 ☒    The document is to be filed nunc pro tunc to date received.

      The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☐
      serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes.       Court copy retained by chambers ☐
          Any further failure to comply with the Local Rules may lead to penalties pursuant to
                           Civil Local Rule 83.1 or Criminal Local Rule 57.1.

Date: August 27, 2018                   CHAMBERS OF: The Honorable Larry Alan Burns

cc: All Parties                              By:
